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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
____________________________________
                                     )
PUBLIC HEALTH AND MEDICAL            )
PROFESSIONALS FOR                    )
TRANSPARENCY,                        )
                                     )
                  Plaintiff,         )
                                     )
            v.                       ) Civil Action No. 4:21-cv-01058-P
                                     )
UNITED STATES FOOD AND DRUG          )
ADMINISTRATION,                      )
                                     )
                  Defendant.         )
___________________________________ )

                          ANSWER TO PLAINTIFF’S COMPLAINT

         Defendant, the U.S. Food and Drug Administration (“FDA”) by and through undersigned

counsel, hereby answers the Complaint (ECF No. 1) (“Complaint”) filed by Plaintiff Public Health

and Medical Professionals for Transparency (“PHMPT”) on September 16, 2021, as follows, in

correspondingly numbered paragraphs:

    1.     Admitted that until August 23, 2021, all vaccines legally available to the public for the

           prevention of COVID-19 in the United States were authorized by FDA under emergency

           use authorization. Except as so expressly admitted, the allegations of paragraph 1 are

           denied.

    2.     Admitted.

    3.     The allegations in first two lines of this paragraph purport to characterize a news release

           by FDA, which speaks for itself.         To the extent that Plaintiff’s allegations are

           inconsistent with the news release, the first two lines of this paragraph are denied. The

           rest of the paragraph consists of Plaintiff’s characterization of alleged “questions” raised
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     by unnamed individuals about which Defendant lacks knowledge or information

     sufficient to form a belief about the truth of the allegations.

4.   This paragraph consists of Plaintiff’s characterization of itself and its work. Defendant

     lacks knowledge or information sufficient to form a belief about the truth of the

     allegations in this paragraph.

5.   The first sentence of this paragraph consists of Plaintiff’s characterization of itself and

     its work. Defendant lacks knowledge or information sufficient to form a belief about

     the truth of the allegations in the first sentence of this paragraph. Allegations in the first

     sentence of this paragraph also purport to characterize a website by FDA, which speaks

     for itself. To the extent that Plaintiff’s allegations are inconsistent with the website, the

     first sentence of this paragraph is denied. By way of further response, FDA avers that

     it is committed to transparency while appropriately protecting confidential information.

     The allegations in the second sentence of this paragraph set forth Plaintiff’s conclusions

     of law, to which no response is required. Furthermore, the allegations in the second

     sentence of this paragraph purport to characterize 21 C.F.R. § 601.51(e), which speaks

     for itself. To the extent that Plaintiff’s allegations are inconsistent with the regulation,

     the second sentence of this paragraph is denied.

6.   Defendant admits this paragraph and avers that footnotes 5 and 6 of Plaintiff’s

     Complaint are copied verbatim from footnotes 1 and 2 of Plaintiff’s Freedom of

     Information Act (“FOIA”) request. Defendant respectfully refers the Court to the FOIA

     request dated August 27, 2021, for a full and accurate statement of its contents. See

     Compl. Exh. A.1.




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7.    This allegations in this paragraph sets forth Plaintiff’s alleged motivations for its FOIA

      request about which Defendant lacks knowledge or information sufficient to form a

      belief about the truth of the allegations. They do not set forth a claim for relief or aver

      facts in support of a claim to which a response is required. Furthermore, the allegations

      in this paragraph consist of Plaintiff’s opinions rather than facts, as well as speculation,

      such that Defendant lacks sufficient information to admit or deny.

8.    Admitted that Plaintiff requested expedited processing of its FOIA request. The rest of

      the allegations in this paragraph purport to characterize Plaintiff’s FOIA request, which

      speaks for itself. Defendant respectfully refers the Court to the FOIA request dated

      August 27, 2021, for a full and accurate statement of its contents. See Compl. Exh. A.1.

9.    Admitted that FDA denied Plaintiff’s request for expedited processing. The rest of the

      allegations in the first sentence of this paragraph purport to characterize FDA’s letter to

      Plaintiff, which speaks for itself. Defendant respectfully refers the Court to FDA’s letter

      dated September 9, 2021, for a full and accurate statement of its contents. See Compl.

      Exh. A.4. The second sentence of this paragraph consists of Plaintiff’s characterization

      of this action, to which no response is required.

10.   This paragraph consists of Plaintiff’s characterization of itself and its work about which

      Defendant lacks knowledge or information sufficient to form a belief about the truth of

      the allegations.

11.   This paragraph consists of Plaintiff’s characterization of itself about which Defendant

      lacks knowledge or information sufficient to form a belief about the truth of the

      allegations.




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12.   The allegations in the first sentence are admitted. The second sentence consists of

      Plaintiff’s legal conclusions to which no response is required.

13.   This paragraph consists of Plaintiff’s legal conclusions regarding jurisdiction and venue,

      to which no response is required.

14.   Admitted.

15.   The allegations in this paragraph consist of Plaintiff’s characterization of “an ongoing,

      public national debate” by unnamed individuals about which Defendant lacks

      knowledge or information sufficient to form a belief about the truth of the allegations.

16.   This paragraph consists of Plaintiff’s characterization of alleged “declar[ations]” by

      unnamed individuals about which Defendant lacks knowledge or information sufficient

      to form a belief about the truth of the allegations.

17.   The allegations in this paragraph purport to characterize a news release by FDA, which

      speaks for itself. To the extent that Plaintiff’s allegations are inconsistent with the news

      release, this paragraph is denied.

18.   The allegations in this paragraph purport to characterize a news release by FDA, which

      speaks for itself. To the extent that Plaintiff’s allegations are inconsistent with the news

      release, this paragraph is denied.

19.   The allegations in this paragraph purport to characterize a news release by FDA, which

      speaks for itself. To the extent that Plaintiff’s allegations are inconsistent with the news

      release, this paragraph is denied.

20.   The allegations in this paragraph purport to characterize an article by CBS News, which

      speaks for itself. To the extent that Plaintiff’s allegations are inconsistent with the

      article, this paragraph is denied.



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21.   The allegations in this paragraph purport to characterize websites by the Centers for

      Disease Control and Prevention, the Department of Health and Human Services, the

      World Health Organization, and the Washington State Department of Health, which

      speak for themselves, and an article by WLNS.com, which speaks for itself. To the

      extent that Plaintiff’s allegations are inconsistent with the websites and the article, this

      paragraph is denied.

22.   The allegations in this paragraph consist of Plaintiff’s characterization of alleged

      “questions” raised by unnamed individuals about which Defendant lacks knowledge or

      information sufficient to form a belief about the truth of the allegations. Furthermore,

      this paragraph consists of Plaintiff’s characterization of itself and its work about which

      Defendant lacks knowledge or information sufficient to form a belief about the truth of

      the allegations.

23.   Admitted that a group of individuals filed a Citizen Petition with FDA on June 1, 2021,

      concerning Pfizer’s COVID-19 vaccine. The remaining allegations in this paragraph

      purport to characterize a Citizen Petition submitted to FDA and a blog post, which speak

      for themselves. To the extent that Plaintiff’s allegations are inconsistent with the Citizen

      Petition and the blog post, those allegations are denied.

24.   The allegations in this paragraph purport to characterize three blog posts and one news

      article from STAT, which speak for themselves.              To the extent that Plaintiff’s

      allegations are inconsistent with the blog posts and the article, this paragraph is denied.

25.   The allegations in this paragraph purport to characterize a blog post, which speaks for

      itself. To the extent that Plaintiff’s allegations are inconsistent with the blog post, this

      paragraph is denied.



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26.   The allegations in this paragraph purport to characterize a biographical website, an FDA

      website, and a Wall Street Journal article, which speak for themselves. To the extent

      that Plaintiff’s allegations are inconsistent with the websites and the article, this

      paragraph is denied.

27.   Denied that “FDA did not convene its advisory group, VRBPAC, to have a public

      meeting prior to licensure” and that “those interested were denied the opportunity to

      both hear discussion about the data and to offer public comment about the same.” By

      way of further response, Defendant avers that the VRBPAC Advisory Committee held

      a public meeting on December 10, 2020, to discuss Emergency Use Authorization

      (EUA) of the Pfizer-BioNTech COVID-19 Vaccine for the prevention of COVID-19 in

      individuals 16 years of age and older. Furthermore, the allegations in this paragraph

      purport to characterize a letter from several senators to then-FDA Commissioner

      Stephen Hahn dated September 14, 2020, and an article by the Washington Times,

      which speak for themselves. To the extent that Plaintiff’s allegations are inconsistent

      with the letter and the article, this paragraph is denied.

28.   The allegations in this paragraph purport to characterize articles by the National Law

      Review, Associated Press, Forbes, CNN, Yahoo! News, CNBC, CBS, ABC News,

      KPBS, Reuters, The Hill, University Business, NBC News, NPR, Patch, NBC New

      York, nj.com, Mercury News, The New York Times, Boston Herald, Mississippi Free

      Press, Huffington Post, The Advocate, and the Los Angeles Times, as well as websites

      by the White House, New York City, CVS, the University of Colorado—Boulder, the

      University of California—Berkeley, Harvard University, George Mason University, the

      University of Pittsburgh, New York State, California Department of Public Health, and



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      City of Denver, which speak for themselves. To the extent that Plaintiff’s allegations

      are inconsistent with the articles, this paragraph is denied. In addition, the paragraph

      consists of Plaintiff’s characterization of alleged “objections” raised by unnamed

      individuals about which Defendant lacks knowledge or information sufficient to form a

      belief about the truth of the allegations.

29.   The allegations in this paragraph purport to characterize a bill, an article by The Hill, a

      White House website, and an article by CNN, which speak for themselves. To the extent

      that Plaintiff’s allegations are inconsistent with the bill, articles, and website, this

      paragraph is denied.

30.   The allegations in this paragraph purport to characterize two New York state senate bills

      and articles by nj.com and eastcountytoday.com, which speak for themselves. To the

      extent that Plaintiff’s allegations are inconsistent with the bills and articles, this

      paragraph is denied.

31.   The allegations in this paragraph purport to characterize articles from USA Today,

      MSN.com, The New York Times, and Yahoo! News, which speak for themselves. To

      the extent that Plaintiff’s allegations are inconsistent with the articles, this paragraph is

      denied.

32.   The allegations in this paragraph purport to characterize an article by NBC News and a

      video on YouTube, which speak for themselves.              To the extent that Plaintiff’s

      allegations are inconsistent with the article and video, this paragraph is denied.

33.   Admitted that Plaintiff submitted a FOIA request to FDA on August 27, 2021. The

      remaining allegations in the first sentence of this paragraph consist of Plaintiff’s

      characterization of itself and its work. Defendant lacks knowledge or information



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      sufficient to form a belief about the truth of the remaining allegations in the first

      sentence of this paragraph. Furthermore, an allegation in the first sentence of this

      paragraph purports to characterize an FDA website, which speaks for itself. To the

      extent that Plaintiff’s allegations are inconsistent with the website, this allegation in the

      first sentence of this paragraph is denied. By way of further response, FDA avers that

      it is committed to transparency while appropriately protecting confidential information.

      Defendant admits the second sentence of this paragraph and avers that footnotes 41 and

      42 of Plaintiff’s Complaint are copied verbatim from footnotes 1 and 2 of Plaintiff’s

      FOIA request. Defendant respectfully refers the Court to the FOIA request dated

      August 27, 2021, for a full and accurate statement of its contents. See Compl. Exh. A.1.

34.   The allegations in this paragraph purport to characterize a FOIA Request Confirmation,

      which speaks for itself. To the extent that Plaintiff’s allegations are inconsistent with

      the FOIA Request Confirmation, this paragraph is denied. Defendant respectfully refers

      the Court to the FOIA Request Confirmation from FDA to Plaintiff dated August 27,

      2021, for a full and accurate statement of its contents. See Compl. Exh. A.2.

35.   Admitted. Defendant respectfully refers the Court to the letter from FDA to Plaintiff

      dated August 31, 2021, for a full and accurate statement of its contents. See Compl.

      Exh. A.3.

36.   Admitted. Defendant respectfully refers the Court to the FOIA request dated August

      27, 2021, for a full and accurate statement of its contents. See Compl. Exh. A.1.

37.   Admitted that FDA denied Plaintiff’s request for expedited processing on September 9,

      2021. The rest of the allegations in this paragraph contain conclusions of law, to which

      no response is required, or purport to characterize FDA’s letter to Plaintiff, which speaks



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      for itself. Defendant respectfully refers the Court to FDA’s letter dated September 9,

      2021, for a full and accurate statement of its contents. See Compl. Exh. A.4. To the

      extent that Plaintiff’s allegations are inconsistent with FDA’s letter dated September 9,

      2021, this paragraph is denied.

38.   This paragraph sets forth Plaintiff’s conclusions of law, to which no response is

      required. The allegations in this paragraph also purport to characterize a statute, which

      speaks for itself. To the extent that a response is required, FDA denies the allegations

      in this paragraph.

39.   Admitted that Plaintiff stated in its FOIA request that it was “primarily engaged in

      disseminating information” and that Plaintiff stated in its FOIA request there is an

      “urgency to inform the public concerning actual or alleged Federal Government

      activity.” The rest of the allegations in the first sentence of this paragraph are Plaintiff’s

      characterization of its FOIA request, to which no response is required. Defendant

      respectfully refers the Court to the FOIA request dated August 27, 2021, for a full and

      accurate statement of its contents. See Compl. Exh. A.1. To the extent that Plaintiff’s

      allegations are inconsistent with the FOIA request, the first sentence of this paragraph

      is denied. As for the second sentence of this paragraph, admitted that FDA stated in its

      letter to Plaintiff dated September 9, 2021, that Plaintiff had not “demonstrated a

      compelling need that involves an imminent threat to the life or physical safety of an

      individual” and that Plaintiff had not demonstrated that “there exists an urgency to

      inform the public concerning actual or alleged Federal Government activity.” The rest

      of the allegations in the second sentence of this paragraph are Plaintiff’s characterization

      of FDA’s letter to Plaintiff, to which no response is required. Defendant respectfully



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       refers the Court to FDA’s letter dated September 9, 2021, for a full and accurate

       statement of its contents. See Compl. Exh. A.4. To the extent that Plaintiff’s allegations

       are inconsistent with FDA’s letter dated September 9, 2021, the second sentence of this

       paragraph is denied.     The third sentence of this paragraph consists of Plaintiff’s

       characterization of this action, to which no response is required. To the extent a

       response is required, the allegations are denied.

 40.   The first sentence of this paragraph consists of Plaintiff’s characterization of this action,

       to which no response is required. To the extent a response is required, the allegations

       are denied. The second, third, fourth, and fifth sentences of this paragraph consist of

       Plaintiff’s characterization of itself and its work. Defendant lacks knowledge or

       information sufficient to form a belief about the truth of the allegations in the second,

       third, fourth, and fifth sentences of this paragraph. Furthermore, the fifth sentence of

       this paragraph purports to characterize articles from Fox News, The BMJ, the Wall

       Street Journal, The Federalist, and ArcDigital, blog posts on The BMJ and Re-Check,

       and websites by Andrew Bostom, which speak for themselves. To the extent that

       Plaintiff’s allegations are inconsistent with the articles, the fifth sentence of this

       paragraph is denied. The sixth sentence of this paragraph consists of Plaintiff’s

       characterization of this action and conclusions of law, to which no response is required.

       To the extent a response is required, the allegations are denied.

 41.   This paragraph sets forth Plaintiff’s conclusions of law, to which no response is

       required. To the extent a response is required, the allegations are denied. Furthermore,

       the allegations in this paragraph purport to characterize a judicial opinion, which speaks




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       for itself. To the extent that Plaintiff’s allegations are inconsistent with the judicial

       opinion, this paragraph is denied.

 42.   The first sentence of this paragraph consists of Plaintiff’s characterization of this action,

       to which no response is required. To the extent a response is required, the allegations

       are denied. The second and third sentences of this paragraph consist of Plaintiffs’

       characterization of a regulation, which speaks for itself. To the extent that Plaintiff’s

       allegations are inconsistent with the regulation, the second and third sentences of this

       paragraph are denied. The fourth sentence of this paragraph consists of conclusions of

       law, to which no response is required. To the extent a response is required, the

       allegations are denied.

 43.   This paragraph consists of Plaintiff’s conclusions of law, to which no response is

       required. Furthermore, this paragraph purports to characterize FDA websites, a statute,

       and a regulation, which speak for themselves. To the extent that Plaintiff’s allegations

       are inconsistent with the website, statute, and regulation, this paragraph is denied. By

       way of further response, FDA avers that it is committed to transparency while

       appropriately protecting confidential information.

 44.   This paragraph consists of Plaintiff’s characterization of this action and conclusions of

       law, to which no response is required. To the extent a response is required, the

       allegations are denied. By way of further response, FDA avers that it is committed to

       transparency while appropriately protecting confidential information.

 45.   This paragraph consists of Plaintiff’s characterization of this action and conclusions of

       law, to which no response is required. To the extent a response is required, the

       allegations are denied.



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 46.   The allegations in this paragraph consist of Plaintiff’s characterization of alleged

       “declar[ations]” and “questions” raised by unnamed individuals about which Defendant

       lacks knowledge or information sufficient to form a belief about the truth of the

       allegations. This paragraph also consists of Plaintiff’s characterization of itself and its

       work about which Defendant lacks knowledge or information sufficient to form a belief

       about the truth of the allegations.

 47.   This paragraph consists of Plaintiff’s speculation and characterization of this action, to

       which no response is required. To the extent a response is required, the allegations are

       denied.

 48.   This paragraph consists of Plaintiff’s speculation and characterization of this action, to

       which no response is required. To the extent a response is required, the allegations are

       denied.

 49.   This paragraph consists of Plaintiff’s characterization of this action, to which no

       response is required. To the extent a response is required, the allegations are denied.

       The paragraph also consists of Plaintiff’s characterization of alleged “objections” raised

       by unnamed individuals about which Defendant lacks knowledge or information

       sufficient to form a belief about the truth of the allegations. Furthermore, the allegations

       in this paragraph purport to characterize articles by the National Law Review,

       Associated Press, Forbes, CNN, Yahoo! News, CNBC, CBS, ABC News, KPBS,

       Reuters, The Hill, University Business, NBC News, NPR, Patch, NBC New York,

       nj.com, Mercury News, The New York Times, Boston Herald, Mississippi Free Press,

       Huffington Post, The Advocate, and the Los Angeles Times, as well as websites by the

       White House, New York City, CVS, the University of Colorado—Boulder, the



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          University of California—Berkeley, Harvard University, George Mason University, the

          University of Pittsburgh, New York State, California Department of Public Health, and

          City of Denver, which speak for themselves. To the extent that Plaintiff’s allegations

          are inconsistent with the articles and websites, this paragraph is denied.

    50.   This paragraph consists of Plaintiff’s characterization of this action and conclusions of

          law, to which no response is required. To the extent a response is required, the

          allegations are denied.    Furthermore, the allegations in this paragraph purport to

          characterize a website by the White House and an article by CNN, which speak for

          themselves. To the extent that Plaintiff’s allegations are inconsistent with the website

          and article, this paragraph is denied.

    51.   This paragraph consists of Plaintiff’s characterization of itself, its work, and its future

          actions. Defendant lacks knowledge or information sufficient to form a belief about the

          truth of the allegations in this paragraph.

    52.   This paragraph consists of Plaintiff’s characterization of this action and conclusions of

          law, to which no response is required. To the extent a response is required, the

          allegations are denied. By way of further response, FDA avers that it is committed to

          transparency while appropriately protecting confidential information.

    53.   This paragraph consists of Plaintiff’s conclusions of law, to which no response is

          required. To the extent a response is required, the allegations are denied. This

          paragraph also purports to characterize a statute, which speaks for itself. To the extent

          that Plaintiff’s allegations are inconsistent with the statute, this paragraph is denied.

       The remaining paragraphs of the Complaint contain Plaintiff’s requested relief, to which

no response is required. To the extent a response is required, Defendant denies the allegations



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contained in the remaining paragraphs of the Complaint and further avers that Plaintiff is not

entitled to any relief.

        Defendant hereby denies all allegations in the Complaint not expressly admitted or denied.

                                           DEFENSES

        1. Some or all of the requested records or information may be exempt from disclosure,

            in whole or in part, under 5 U.S.C. § 552(b).

        2. Plaintiff’s FOIA request is improper to the extent it does not reasonably describe the

            records requested. 5 U.S.C. § 552(a)(3)(A).




Dated: October 18, 2021                       Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General
                                              Civil Division

                                              ELIZABETH J. SHAPIRO
                                              Deputy Director
                                              Federal Programs Branch

                                              /s/ Courtney D. Enlow
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                                              Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2021, I electronically transmitted the foregoing to the

parties and the clerk of court for the United States District Court for the Northern District of Texas

using the CM/ECF filing system.



                                               /s/ Courtney D. Enlow
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